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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

                                             §
CARL MORELAND,                               §
                                             §
        Plaintiff,                           §
                                             §
v.                                           §     Case No. 6:21-cv-00110-JDK
                                             §
SUNPATH, LTD.,                               §
                                             §
        Defendant.                           §
                                             §

                                  FINAL JUDGMENT
         Having disposed of all pending claims in this case, the Court hereby enters

 FINAL JUDGMENT.

         It is ORDERED that Plaintiff’s claims are DISMISSED WITHOUT

 PREJUDICE for lack of personal jurisdiction over Defendant SunPath. All pending

 motions are DENIED as MOOT.

         The Clerk of Court is instructed to close this case.

          So ORDERED and SIGNED this 10th day of September, 2021.



                                              ___________________________________
                                              JEREMY D. KERNODLE
                                              UNITED STATES DISTRICT JUDGE
